






In The



Court of Appeals



Ninth District of Texas at Beaumont



____________________



NO. 09-03-308 CR


____________________



JOSEPH MICHAEL SIZEMORE, Appellant



V.



THE STATE OF TEXAS, Appellee






On Appeal from the 252nd District Court


Jefferson County, Texas


Trial Cause No. 85435






MEMORANDUM OPINION (1)


	Joseph Michael Sizemore was convicted and sentenced on an indictment for
burglary of a habitation.  Sizemore filed a notice of appeal on June 27, 2003.  The trial
court entered a certification of the defendant's right to appeal in which the court certified
that this is a plea-bargain case and the defendant has no right of appeal.  See Tex. R. App.
P. 25.2(a)(2).  The trial court's certification has been provided to the Court of Appeals by
the district clerk.

	On July 8, 2003, we notified the parties that the appeal would be dismissed unless
an amended certification was filed within thirty days of the date of the notice and made a
part of the appellate record.  See Tex. R. App. P. 37.1.  The record has not been
supplemented with an amended certification.  Because a certification that shows the
defendant has the right of appeal has not been made part of the record, the appeal must be
dismissed.  See Tex. R. App. P. 25.2(d).

	Accordingly, we dismiss the appeal for want of jurisdiction.

	APPEAL DISMISSED.

								PER CURIAM


Opinion Delivered August 21, 2003

Do Not Publish

Before McKeithen, C.J., Burgess and Gaultney, JJ.
1. Tex. R. App. P. 47.4.


